                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                      )         MATTICE/CARTER
                                               )
         v.                                    )         CASE NO. 1:13-CR-89
                                               )
 CLIFFORD SIMPSON                              )



                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on July 7, 2015. At

 the hearing, defendant entered a plea of guilty to Count One of the Second Superseding Indictment

 to the extent that it charges the manufacture and distribution of five kilograms or more of a mixture

 and substance containing a detectable amount of cocaine, excluding the allegations of cocaine base

 (crack), in exchange for the undertakings made by the government in the written plea agreement.

 On the basis of the record made at the hearing, I find that the defendant is fully capable and

 competent to enter an informed plea; that the plea is made knowingly and with full understanding

 of each of the rights waived by defendant; that it is made voluntarily and free from any force,

 threats, or promises, apart from the promises in the plea agreement; that the defendant understands

 the nature of the charge and penalties provided by law; and that the plea has a sufficient basis in

 fact.

         I therefore recommend that defendant's plea of guilty to Count One of the Second

 Superseding Indictment to the extent that it charges the manufacture and distribution of five

 kilograms or more of a mixture and substance containing a detectable amount of cocaine,

 excluding the allegations of cocaine base (crack), be accepted, that the Court adjudicate defendant

 guilty of the charges set forth in Count One of the Second Superseding Indictment, and that the

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 written plea agreement be accepted at the time of sentencing. I further recommend that defendant

 remain in custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt,

 acceptance of the plea agreement, and imposition of sentence are specifically reserved for the

 district judge.

         The defendant=s sentencing date is scheduled for Monday, November 23, 2015, at 9:00

 am.



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                                                UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
 Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
 the plea of guilty in this matter. See 28 U.S.C. '636(b).




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